  JS 44 (Rev, 10/20)              Case 2:21-cv-02833-JDW
                                                     CIVILDocument
                                                           COVER 1SHEET
                                                                   Filed 06/25/21 Page 1 of 34
  The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
  provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
  purpose of initiating the civil docket sheet. (SEE INSTRUCYYONS ON nE,w'1>,4GE OF THIS FORM)
 I. (2) PLAINTIFFS                                                                                         DEFENDANTS

           Viola Giles                                                                                     Philadelphia Housing Authority
     (b) County of Residence of First Listed Plaintiff             Philadelphia                            County of Residence of First Listed Defendant Philadelphia
                                 (EXCEPT IN (LS. PI.AlN77F7" CASES)                                                               (IN us, PLAINTIFF CASES ONLU
                                                                                                           NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THJ8 TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Ad!/l'e.vv, and Telephone Nnmbelj                                            Attorneys (lfK:m\wy
           Thomas Sacchetta, Esquire                                                                       John P. Gonzales, Esquire
           308 East Second Street                                                                          Marshall Dennehey Warner Coleman & Goggin
           Media. PA 19063                                                                       +         2000 Market Street. Ste. 2300                                                             +
 II. BASIS OF JURISDICTION (Place an "X" in One Box OHM                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place wr "X" in One Bvxfor/"lain/w
                                                                                                       (For DiveIsiry Cases Only)                                  and One Boxfnr Defenz/an0
QI      U.S. Govenunent               83     Federal Question                                                                  PTF        DEF                                         PTF      DEF
           Plaintiff                           (U.S. GoveIwnenl Not a Parl;9                     Citizen oIIThis State         x 1      Q 1      lmzorporaled of' Principal Place     Q 4      X4
                                                                                                                                                    of Business In This State

 QUO U.S. Govenlment
       Defendant
                                      QUO Diversity
                                            (Indicate (.`ilizenship dPaIWex in [lem Ill)
                                                                                                 Citizen of Another Stale      QUO      U2       Incorporated and Principal Place
                                                                                                                                                    of Business in Another Stale
                                                                                                                                                                                      Q 5      05

                                                                                                 Citizen or Subject of a       QUO      la 3     Foreign Nation                       06       QUO
                                                                                                   Foreign Country                                                                                       i
 IV. NATURE OF SUIT (P/uce an "X" iN One Box ()nl)9                                                                                Click here for: Nature of Suit Code Descriptions.
            CONTRACT                                              TORTS                             FORFEITURE/PENALTY                     BANKRUPTCY                       OTHER STATUTES
    I 10 Insurance                         PERSONAL INJURY              PERSONAL INJURY             625 Drug Related Seizure            422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                             310 Airplane                365 Personal Injury -              of Propcny 21 USC 881         423 Withdrawal              3     376 Qui Tam (31 USC
    130 Miller Act
    140 Negotiable lnstmmenl
                                    3      3 l5 Airplane Froduct
                                                Liability
                                                                            Producl Liabilily
                                                                       367 Health Cars/
                                                                                                 j 690 Other                                28 USC 157                        3729(a))
                                                                                                                                                                    -| 400 State Reapporlioumeut
      150 Recovery of Overpayment 3320 Assault, Libel &                    Pharmaceutical                                              PROPERTY RIGHTS                    4[0 Antitrust
          & Enforcement of Judgment             Slander                    Personal injury                                              820 Cnpyrighls                    430 Banks and Banking
      151 Medicare Aol                 Z] 330 Federal Exnployers           Product Liability                                            830 Patent                        450 Commerce
      152 Recovery of Defauhed                  Liability              368 Asbestos Personal                                            835 Patent - Abbreviated          460 Deportation
           Student Loans                   340 Marine                       injury Produc!                                                  New Drug Application          470 Racketeer Infhxenced and
          (Excludes Veterans)
      153 Recovery ofOvclpaymenl
                                           345 Marine Product
                                                Liability
                                                                            Liabilily
                                                                      PERSONAL PROPERTY                        LABOR
                                                                                                                                   3    840 Trademark                         Cornet Organizations
                                                                                                                                   1 880 Defend Trade Secrets 3 480 Consumer Credit
                                                                                                                                                                                                         i
                                                                                                                                                                                                         I
          of Veteran's Benefits            350 Motor Vehicle           370 Other Fraud           J7l0 Fair Labor Standards                  Ac! of 2016                       (is USC 1681 or 1692)
      160 Stockholders' Suiis              355 Motor Vehicle           371 Trinh in Lending              Act                                                        al 485 Telephone Consumer
      190 Other Contract                       Product Liability       380 Other Personal       1]720 Labor/Management                  SOCIAL SECURITY*                      Protection Act
      195 Conlracl Product Liability 3360 Other Personal                   Property Damage               Relations                      861 HIA (I395ff)                 490 Cable/Sal TV
      196 Franchise                            Injury                  385 Properly Damage          740 Railway Labor Act               862 Black Lung (923)              850 Securities/Commodities/
                                       3362 Persons! Injury -
                                               Medical Malpractice
                                                                           Product Liability     3  7/1 Faini!y and Medical
                                                                                                         Leave Act
                                                                                                                                        863 DIWC/DIWW (405(g))
                                                                                                                                        864 ssm Title XVI
                                                                                                                                                                              Exchange
                                                                                                                                                                       | 890 Other Slalutory Actions
         REAL PROPERTY                       CIVIL RIGHTS             PRISONER PETITIONS _J790 Other Labor Liligalion                   865 RSI (405(g))               | 891 Agriculhrral Acts
    I 210 Land Colxdemnation             14450 Olher Civil Righls      Hnbcas Corpus:            _I791 Employee Retirement                                             I 893 Environmental Matters
      220 Foreclosure                  j 441 Voting                    463 Alien Detainee               Income Security Act            FEDERAL TAXSUITS                  895 Freedom oflnformation
      230 ReM Lease & Ejechnent            442 Employment              510 Motions Ko Vacate                                            870 Taxes (U,S, Plaintiff             Act
      240 Tons lo Land
      245 Ton Product Liability
                                    3     443 Housing/
                                               Accommodations
                                                                           Sentence
                                                                       530 General
                                                                                                                                            or Defcndani)
                                                                                                                                     | 871 IRS Third Party
                                                                                                                                                                         896 Arbitration
                                                                                                                                                                    _j 899 Administrative Procedure
      290 All Other Real Properly     j 445 Amer, w/Disabi!ilies       535 Dcnth Penally                 IMMIGRATION                         26 USC 7609                     Act/Review or Appeal of
                                               Employment              Other:                       462 Naluralizatinn Application                                           Agency Decision
                                       j 446 Amer, w/Disabililies      540 Mandamus & Other         465 Other Ilnmigralion                                         I 950 Constillltionalily of
                                               Olher                   550 Civil Righls                 Actions                                                              State Statutes
                                      j 448 Education                  555 Prison Condilion
                                                                       560 Civil Delaincc -
                                                                           Conditions of
                                                                           Confinelnel)l
  V. ORIGIN (Ply/ce an              in One Box Only)
[ I I Original             x 2 Removed from                QUO Remanded from                U4 Reinstated or D 5 Transferred from E 6 Multidistrict                           Q 8 Multidistrict
         Proceeding               Slate Court                       Appellate Court             Reopened                 Another District              Litigation -                   Litigation ..
                                                                                                                         (8w6939                       Transfer                       Direct File
                                         Cite the U.S. Civil Statute under which you are tiling (Do nor cirejl/rlsflicliomrl .vlnlules unless diversify :
                                         42 U.S.C. Section was
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Plaintiff alleges violations of her Fourth and Fourteenth Amendment rights pursuant to 42 U.S.C. § 1983 based on an alleged sexual assault,
 VII. REQUESTED IN                      Q Cl-IECK IF THIS is A CLASS ACTION                          DEMAND s                                CHECK YES only if demanded in complaint:
      COMPLAINT :                             UNDER RULE 23, P.R,Cv.P.                                                                       JURY DEMAND:                Eyes        [lm
 VIII. RELATED cAsE(s)
                                            (See insrrlIclions):
       IF ANY                                                       JUDGE                                                                    <ET NUMBER
DATE                                                                  SIGNATURE OF A
                                                                       John P. Gonzales, Esquire      wK
Jun 25, 2021
FOR OFFICE USE ONLY

   RECEIPT #                    AMOUNT                                   APPLYING IFP                                 JUDGE                             MAG, JUDGE
 JS 44 Reversc (Rev, 10/20)   Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 2 of 34
                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIV7L COVER SHEET FORM JS 44
                                                                 Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of count. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

 l.(a)    Plaintiffs-Defendants, Enter names (last, first, middle initial) of piaintiff and defendant. Iflhe plaintiff or defendant is a government agency, use
          only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
          the official, giving both name and title,
   (b)    County otlResidencc. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
          time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
          condemnation cases, the county of residence of the "defendant" is the location of the tract of 10nd involved.)
  (c)     Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
          in this section "(see attachment)".

II.       Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
          in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
          United States plaintiff, (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here,
          United States defendant. (2) When the plaintiffs suing the United States, its officers or agencies, place an "X" in this box.
          Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
          to the Constitution, an act of Congress or a treaty of the United States. in cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
          precedence, and box l or 2 should be marked.
          Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
          citizenship of the different parties must be checked. (See Section Ill below; NOTE' federal question actions take precedence over diversity
          cases.)

111.     Residence (citizenship) 0f Principnl Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

Iv.       Nature of Suit. Place an "X" in the appropriate box. Iflthel'e are multiple nature of suit codes associated with the case, pick the nature of suit code
          that is most applicable, Click here for: Nature of Suit Code Descriptions.

v.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (I) Cases which originate in the United States district courts.
         Removed from State Court, (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C,, Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated of' Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section l404(a). Do not use this for within district transfers or         r


         multidistrict litigation transfers.
         Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation -- Direct File. (8) Check this box when a multidistrict case is tiled in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

Vl.      Cause ofAction. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Bi'iefDescription: Unauthorized reception of cable service.

VH.      Requested in Complaint. Class Action. Place an "X" in this box if you are tiling a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate 'other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not azury is being demanded.

VIII.    Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                                                      3
                               Case 2:21-cv-02833-JDW
                                                   UNITEDDocument   1 Filed
                                                          STATES DISTRICT   06/25/21 Page 3 of 34
                                                                          COURT
                                                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                      DESIGNATION FORM
                        (ro be used by counsel or pro se plainlwlo indicate the category of the case for he purpose ofassigmnenf to Ihe appropriate calendar)

  Address of Plaintiff:                                  1635 N. Marsha!! Street, Apt. B, Philadelphia,pA 19122
  Address of Defendant:                                             2013 Ridge Avenue, Philadelphia, PA 19121
 Place of Accident, Incident or Transaction :                                                                        Philadelphia, PA


 RELATED CASE, IFANY:

 Case Number:                                                      Judge:                                                                 Date Terminated :

 Civil cases are deemed related when Yes is answered to any of the following questions:

 l.      Is this case related to propcity included in an earlier' numbered suit pending or within one year                                  Yes                 No
         previously terminated action in this cou11'?

 2.     Docs this case involve the same issue of fact or grow out of the same transaction as a prior suit                                   Yes                 No
        pending or within one year previously terminated action in this court?

 3.     Does this case involve the validity or infringement of a patent already in suit Ol' any earlier                                     Yes                 No
        numbered case pending 0l' within one year previously terminated action of this court?

 4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                                   Yes                 No
        case filed by the same individual?

 I certify that, to my knowledge, the within case               is / .          is not related to any case now pending or within one year previously terminated action in
 this court except as noted above.                                       f                           /
                                                                     /       3;cj , .,i . :    /to                                    f
                                                                    7                                =/
                                                                                                                              /   r
DATE :       06/25/2021                                              9 f                 "                     \\`
                                                                                                 1\fiust signiii/c
                                                                                                                     '
                                                                                                                          ,                                   71265
                                                                                   I11rov'f1ey-al-Lan' / Pro Se P/ainljf                             Allorney1.D. # (Ja1Jplicablej


CIVIL: [Place a 4 in one category only)

A.              Federal QlIesfioI1 Cases:                                                                 B.   Diversi4» Jurisrliciion Cases:

        I.    Indemnity Contract, Marine Contract, and All Other Contracts                                     1.    Insurance Contract and Other Contracts
        2,    FELA                                                                                             2.    Airplane Fersonal Injury
        3.    Jones Act-Personal Injury                                                                        3.    Assault, Defamation
        4.    Antitrust                                                                                        4.    Marine Personal Injury
        5.    Patent                                                                                           5.    Motor Vehicle Personal Injury
        6.    Labor-Management Relations                                                                       6.    Other Personal Injury (Please specQ5:):
 J      7.    Civil Rights                                                                                     7.    Products Liability
        8.    Habeas Corpus                                                                                    8.    Products Liability - Asbestos
        9.    Securities Act(s) Cases                                                                          9.    All other Diversity Cases
        10. Social Security Review Cases                                                                             (Please specyjd:
        l I, All other Federal Question Cases                                                                                                                                         L
              (Please speed;                                                                                                                                                          2




                                                                              ARBITRATION CERTIFICATION
                                                    (TIre effect of f/vis ce/'lfficalion is lo remove /he case from e/igibilily for arbitralion,)


I,                                                            counsel of record or pro se plaintiff do hereby cerlify:

               Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
               exceed the sum of $150,000.00 exclusive of interest and costs:                                                                                                        g




               Relief other than monetary damages is sought.



DATE5                                                                                         Sign here iflapplical>lL=
                                                                                                                                                    Afrorney LD. # (rapp/icab/e)
                                                                                                                                                                                     w;

                                                                                  At/owvey~a/-Lars' / Pro Se P/ainfij

NOTE: A trial do novo will be nu trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. (SHE (5/20/8)
             Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 4 of 34
                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                      CASE MANAGEMENT TRACK DESIGNATION FORM
Viola Giles                                                  :                     CIVIL ACTION

                      v.

Philadelphia Housing Authority, et al                                                NO.


In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set foith on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS :

(8)   Habeas Co1pus-Cases brought under 28 U.S.C. §2241through §2255.                                       ( )

(b)   Social Security-Cases requesting review of a decision of the Secretary of Health
      and Human Services denying plaintiff Social Security Benefits.                                        ()    E
(C)     Arbitration~Cases require to be designated for arbitration under Local Civil Rule 532.              ( )

(d)     Asbestos-Cases involving claims for personal injury or property damage from
        exposure to asbestos.                                                                               ( )   I




(e)     Special Management-Cases that do not fall into tracks (a) through (d) that are
        commonly referred to as complex and that need special or intense management by
        the court. (See reverse side of this form for a detailed explanation of special
        management cases.)                                                                                  ()
If)     Standard Management--Cases that do not fall into any one of the other tracks.                       (x)
                                             /                                                                    g




                                     7/ ,-   /'i,,,   /,v
                                                      //
                                                        ..
                                                        ..
                                                      ...
                                                                 ...
                                                                  .....   9
                                                                              /~             Defendants
 Date 6/25/2021                                  Attorney-at-law                            Attorney for
                                                                                           PHA defendants
                                      John P. Gonzales
 215-575-2871                                         215-575-0856                   jpgonzales@mdwcg.com
 Telephone                                            FAX Number                           E-Mail Address         I




(Civ. 660) 10/02
              Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 5 of 34
                             Civil Justice Expense and Delay Reduction Flan
                           Section 1:03 - Assignment to a Management Track
        (a)      The clerk of court will assign cases to tracks (a) through (d) based
on the initial pleading.

        (b)    In all cases not appropriate for assignment by the clerk of court to
tracks (a) through (d), the plaintiff shall submit to the clerk of court and serve with the
complaint on all defendants a case management track designation form specifying that
the plaintiff believes the case requires Standard Management of Special Management.
In the event that a defendant does not agree with the plaintiff regarding said designation,
that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying
the track to which that defendant believes the case should be assigned.

        (c)    The court may, on its own initiative or upon the request of any patty,
change the track assignment of any case at any time.

        (d)    Nothing in this Plan is intended to abrogate of limit a judicial officer's
authority in any case pending before that judicial officer, to direct pretrial and trial
proceedings that are more stringent than those of the Plan and that are designed to
accomplish cost and delay reduction.
        (e)    Nothing in this Plan is intended to supersede Local Civil Rules 3 or 7,
or the procedure for random assignment of Habeas Corpus and Social Security cases
referred to magistrate judges of the court.

                         SPECIAL MANAGEMENT CASE ASSIGNMENTS
                         (See § 1.02(e) Management Track Definitions of the
                          Civil Justice Expense and Delay Reduction Plan)
       Special management cases will usually include that class of cases commonly referred to as
    ,    "complex litigation" as that term has been used in the Manuals for
Complex Litigation. The first manual was prepared in 1969 and the Manual for Complex
Litigation Second, MCL 2d was prepared in 1985. This term is intended to include cases
that present unusual problems and require extraordinary treatment, See §0.l of the first
manual. Cases may require special or intense management by the court due to one or
more of the following factors: (1) large number of parties, (2) large number of claims or
defenses, (3) complex factual issues, (4) large volume of evidence, (5) problems locating
or preserving evidence, (6) extensive discovery, (7) exceptionally long time needed to
prepare for disposition, (8) decision needed within an exceptionally short time, and (9)
need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such as antitrust cases, cases
involving a large number of parties or an unincorporated association of large
membership, cases involving requests for' injunctive relief affecting the operation of large
business entities, patent cases, copyright and trademark cases, common disaster cases
such as those arising from aircraft crashes or marine disasters, actions brought by individual
stockholders, stool<holder's derivative and stocldiolder's representative actions,
class actions of potential class actions, and other civil (and criminal) cases involving
unusual multiplicity 01' complexity of factual issues. See §0.22 of the first Manual for
Complex Litigation and Manual for' Complex Litigation Second, Chapter 33.
     Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 6 of 34




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VIOLA GILES
                   Plaintiff,
           vs.

PHILADELPHIA HOUSING AUTHORITY :       Civil Action No.
PHILADELPHIA HOUSING AUTHORITY :
POLICE DEPARTMENT, PHILADELPHIA:
HOUSING AUTHORITY DEVELOPMENT:
CORPORATION, PHILADELPHIA        :
HOUSING AUTHORITY                :
HOMEOWNERSHIP CORPORATION, :
PHILADELPHIA HOUSING AUTHORITY :
BOARD OF COMMISSIONERS,          :
JOE DOE AS THE ADMINISTRATOR/ :
EXECUTOR OF THE ESTATE OF        :
ANTHONY KAMEDULA AND             :
JANE DOE AS THE ADMH\IISTRATRIX/ :
EXECUTRIX OF THE ESTATE OF       :
ANTHONY KAMEDULA, JOHN DOE
AND JANE DOE
                Defendants,



VIOLA GILES                            COURT OF COMMON PLEAS
                   Plaintiff,          PHILADELPHIA COUNTY
           vs.
                                       MAY TERM, 2021
PHILADELPHIA HOUSING AUTHORITY:        NO. 02405
PHILADELPHIA HOUSING AUTHORITY :
POLICE DEPARTMENT, PHILADELPHIA:       JURY DEMAND
HOUSING AUTHORITY DEVELOPMENT :
CORPORATION, PHILADELPHIA        :
HOUSING AUTHORITY                :
HOMEOWNERSHIP CORPORATION, :
PHILADELPHIA HOUSING AUTHORITY:
BOARD OF COMMISSIONERS,          :
JOE DOE AS THE ADMINISTRATOR/ :
EXECUTOR OF THE ESTATE OF        :
ANTHONY KAMEDULA AND             :
JANE DOE AS THE ADMINISTRATRIX/ 1
EXECUTRIX OF THE ESTATE OF       :
ANTHONY KAMEDULA, JOHN DOE      :
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 7 of 34




AND JANE DOE
                       Defendants .


                                    NOTICE OF REMOVAL

TO:     THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

       Defendants, Philadelphia Housing Authority, Philadelphia Housing Authority Police

Department, Philadelphia Housing Authority Development Corporation, Philadelphia Housing

Authority    Homeownership      Corporation, Philadelphia     Housing     Authority   Board       of

Commissioners, by and through their attorney, Marshall Dennehey Warner Coleman & Goggin,

hereby remove the above-captioned case to this Honorable Court and provides notice of same to

counsel representing the Plaintiff. In support of the removal, Defendants avers as follows:

        l. On May 28, 2021, Plaintiff filed a Complaint in the Court of Common Pleas of

Philadelphia County, Pennsylvania against Defendants, Philadelphia Housing Authority,

Philadelphia Housing Authority Police Department, Philadelphia Housing Authority Development

Corporation, Philadelphia Housing Authority Homeownership Corporation, and Philadelphia

Housing Authority Board of Commissioners (collectively referred to as "Defendants"), and several

John/Jane Does, styled Viola Giles v. Philadelphia Housing Authority, et al., No. 2021-002655.

See Plaintiff's Complaint, attached hereto as Exhibit "A.as

       2. Defendants were served with Plaintiffs Complaint on June 7, 2021.

       3. As Defendants were served on June 7, 2021, Defendants have not yet filed an Answer

or other response to the Complaint. In filing this Notice of Removal, Defendants do not waive any

defense or counterclaim that may be available to them.

       4. This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b) because it is

filed within thirty (30) days of June 7, 202] , when Defendants were served with the Complaint.



                                                2
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 8 of 34




        5. Defendants invoke federal question jurisdiction through the alleged violation of 42

U.S.C. § 1983.

        6. This Court has original jurisdiction over this civil action pursuant to 28 U.S.C. § 1331 ,

and the action may be removed to this Court by Defendants pursuant to 28 U.S.C. § 1441. The

allegations set forth in the Complaint render this action a civil action arising under the Constitution,

laws or treatises of the United States,

        7. Pursuant to 28 USC §1367(a), this Court has supplemental jurisdiction over the

remaining causes of action that are not within the original jurisdiction of the Court because the

remaining claims form the same case and/or controversy as the claims within the original

jurisdiction of the Court.

       8. Written notice of this filing will be given to Plaintiff. Also, as required by 28 U.S.C. §

1446(d), a copy of this Notice of Removal will also be filed with the Prothonotary of the Court of

Common Pleas of Philadelphia County, Pennsylvania, the court in which the State Court Action

was filed.

       WHEREFORE, Defendants, Philadelphia Housing Authority, Philadelphia Housing

Authority Police Department, Philadelphia Housing Authority Development Corporation,

Philadelphia Housing Authority Homeownership Corporation, and Philadelphia Housing

Authority Board of Commissioners, respectfully request that the above action, now pending in the

Court of Common Pleas of Philadelphia County, Pennsylvania, be removed therefrom and proceed

in this Court as an action duly removed.




                                                  3
     Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 9 of 34




                           MARSHALL DENNEHEY WARNER
                           COLEMAN & GOGGIN



Date: June 25, 2021        BY:
                                  /9             'J 4
                                 JOHN p, GONZALES, ESQUIRE
                                 A ttorneyfor Defendants,
                                 Philadelphia Housing Authority
                                 Philadelphia Housing Authority
                                 Police Department, Philadelphia Housing
                                 Authority Development Corporation, Philadelphia
                                 Housing Authority Homeownership Corporation,
                                 Philadelphia Housing Authority Board of
                                 Co111ntissioz1e1~s




                                   4
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 10 of 34




                                       CERTIFICATION

       I, John P. Gonzales, Esquire, hereby certify that the facts set fo11h in the foregoing Notice

of Removal are true and collect to the best of my knowledge, information and beliefs


                                             MARSHALL DENNEHEY WARNER
                                                 COLEMAN & GOGGIN
                                                                       I
                                                                           *I

Date: June 25. 2021                          BY:
                                                    JOHN p. GONZALES, ESQUIRE
                                                    Attorney/or Defendants.
                                                    Philadelphia Housing Az11'No1'iIy
                                                    PNiladelphia Housing AzztNorily
                                                    Police Departznenf,
                                                    PNiladelphia Housing Auflzorily
                                                    Development Corporation, Philadelphia
                                                    Housing Authority Homeownership
                                                    Corporation, Philadelphia Housing
                                                    Authority Board of Con2n1issioners




                                                4
        Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 11 of 34




MARSHALL DENNEHEY WARNER
       COLEMAN & GOGGIN                             ATTORNEY FOR DEFENDANTS
BY: JOHN p. GONZALES, ESQUIRE                       PHILADELPHIA HOUSING
ATTY. ID, NO. 71265         |                       AUTHORITY, PHILADELPHIA
2000 MARKET STREET, STE. 2300                       HOUSING AUTHORITY POLICE
PHILADELPHIA, PA 19103                              DEPARTMENT, PHILADELPHIA
(215) 575-2871                                      HOUSING AUTHORITY
ipgo11zales@mdwc,q.com                              DEVELOPMENT CORPORATION,
                                                    PHILADELPHIA HOUSING
                                                    AUTHORITY HOMEOWNERSHIP
                                                    CORPORATION, PHILADELPHIA
                                                    HOUSING AUTHORITY BOARD OF
                                                    COMMISSIONERS


VIOLA GILES                                         COURT OF COMMON PLEAS
                                                    PHILADELPHIA COUNTY
               vs.
                                                    MAY TERM, 2021
PHILADELPHIA HOUSING AUTHORITY:                     NO. 02405
PHILADELPHIA HOUSING AUTHORITY:
POLICE DEPARTMENT, PHILADELPHIA:                    JURY DEMAND
HOUSING AUTHORITY DEVELOPMENT:
CORPORATION, PHILADELPHIA       :
HOUSING AUTHORITY               :
HOMEOWNERSHIP CORPORATION,      :
PHILADELPHIA HOUSING AUTHORITY:
BOARD OF COMMISSIONERS,         :
JOE DOE AS THE ADMINISTRATOR/ :
EXECUTOR OF THE ESTATE OF       :
ANTHONY KAMEDULA AND            :
JANE DOE AS THE ADMINISTRATRIX/ :
EXECUTRIX OF THE ESTATE OF      :
ANTHONY KAMEDULA, JOHN DOE
AND JANE DOE


                               CERTIFICATE OF SERVICE

       I, John P. Gonzales, Esquire, hereby certify that a true and correct copy of the foregoing

Notice of Removal was served upon the following poNy via electronic mail, on the below date:
        Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 12 of 34




        Thomas Sacchetta, Esquire
        308 East Second Street
        Media, PA 19063
        Attorney for Plaintiff
                                    MARSHALL DENNEHEY WARNER
                                        COLEMAN & GOGGIN




                                    BY:
                                          JOHN p. GONZALES, ESQUIRE
                                          Attorney for Defendants,
                                          Philadelphia Housing Authority
                                          Philadelphia Housing Authority
                                          Police Department,
                                          Philadelphia Housing Authority
                                          Development Corporation, Philadelphia
                                          Housing Authority Homeownership
                                          Corporation, Philadelphia Housing
                                          Authority Board of Commissioners

Date: June 25, 2021

LEGAL/l39287227,vl
Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 13 of 34




EXHIBIT A
                   Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 14 of 34
                                                                                                                                                »?/*MOB
       Court of Common Pleas of Plmiladelpllia County                                                     For Prolhonotglyyse on1y_LD0Q1se.l.Numbe0.
                     Trial Division
                                                                                                 MAY 2021
                   Civil Cover Sheet                                               5-Fnlng Number: 2105054674
                                                                                                                                           002655
PLAlNTIFF'S NAME                                                                   OErENOANI'S NAME
 vloL.A G1 LES                                                                       PHILADELPHIA HOUSING AUTHORITY

PLAlNTIFF'S ADDRESS                                                                O£S=ENOANT'S ADDRESS
 1 6 3 3 n , MARSHALL STREET,                                                        *013 RIDGE AVENUE
 P HI LA DE LP HI A     PA   19122
                                            APT       B
                                                                                     PHILADELPHIA PA 1 9 1 2 1
                                                                                                                                    *JUN           II)'! E



PLAINTIFf'5 NAME                                                                   DEFENDANTS NAME
                                                                                     PHI LADBLPHIA HOUS ING AUTHORITY POLICE
                                                                                     D E PA R T M E N T

PLAINTIFPS ADDRESS                                                                DEFENDANT'S ADDRESS
                                                                                     £013 RIDGE AVENUE,
                                                                                     PHILADELPHIA PA 1ql./ 1

PLAINTQFPS NAME                                                                   DEFENDANT'S NAME
                                                                                     PHILADELPHIA HOUS ING AUTHURI TY DEVELOPMENT
                                                                                    CO RP O RA TI O N

PLAlNTIFF'S ADDRESS                                                               DEFENDANISADDRESS
                                                                                    . 4 0 1 3 RIDGE AVENUE
                                                                                    PHILADELPHIA PA               19131



TOTAl. NUMBER OF PLAINTIFFS           TOTAL NUMBER OF DEFENDANTS             COMMENCEMENT OF ACTION

                                                           8
                                                                             E Com pl ai n!               D Pillion Action                U Nolicc of Appcal
                                                                             D W rit of Summons           D Transfer Flom Oihcr Jurisdictions

AMOUNT IN CONTROVERSY            COURT PROGRAMS


U 350.000.00 of' less
                                 U A rb 1 lru ¢ ion                 [1] Mass'l'ort                        0 Comrncrcc                    E1 Sclllem clll
                                 M July                             U $nvingsAclion                       D Minor Court Appeal           [ It Mi n o r s
W Mole llnzm $50,000 00          D Non-Jury                         U Petition                            0 Statutory Appeals            D W 'D Smvnval
                                 D Olhcf:
CASE TYPE AND CODE

  2B - ASSAULT,              BAT T ERY


STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKGT NUMBER)                                                               IS CASE SUBJECT TO
                                                                                FILED                                        COORDINATION OROER7
                                                                             FW OPR OW N                                                YES


                                                                          MAY 28 2021
                                                                               M. RUSSO

TO THF FRO H-IONOTARY:
Kindly cnlcr my appczlnnmce on bclmalfof PlainliFf7Pclilionc1*/AppcIianu VIOLA GILES
Papers may be served ul lhc address set forth below.

NAME OF PLAIN*£IFP'SIPETI7IONER'S/APPE\.LANT'S ATTORNEY                          ADSRESS

 THOM A S     F.   S AC C H E T T A                                                308 EAST SECOND STREET
                                                                                   MEDIA PA 19063
PHONE NUMBER                               FAXNUMBER
  (610) 893.-9212                          (610) 891-7190

SUPREME COURT IDENTIFICATION NO                                                  E~MAlL ADDRESS

 4 6834                                                                            tom@sbattorney.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                            DATE SUBMITTED
 THOM A S     S / I CCHE T T A                                                     F r id a y, May 28,              2021,      0 3 : 0 8 pm

                                                          FINAL COPY (Approved by the Profhonotary Clerk)
         Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 15 of 34



COMPLETE LIST OF DEFENDANTS :
    1. PHILADELPHIA HOUSING AUTHORITY
         2013 RIDGE AVENUE
         PHILADELPHIA PA 19121
    2. PHILADELPHIA HOUSING AUTHORITY POLICE DEPARTMENT
         2013 RIDGE AVENUE,
         PHILADELPHIA PA 19121
    3. PHILADELPHIA HOUSING AUTHORITY DEVELOPMENT CORPORATION
         2013 RIDGE AVENUE
         PHILADELPHIA PA 19121
    4 , PHILADELPHIA HOUSING AUTHORITY HDMEOWNERSHIP CORPORATION
         2013 RIDGE AVENUE,
         PHILADELPHIA PA 19121
    5. PHILADELPHIA HOUSING AUTHORITY BOARD OF COMMISSIONERS
         2013 RIDGE AVENUE,
         PHILADELPHIA PA 19121
    6. JANE DOE
         CITY HALL
         PHILADELPHIA PA 19107
    7. JOHN DOE
         CITY HALL
         PHILADELPHIA PA 19107
    8. JOHN DOE
         CITY HALL
         PHILADELPHIA PA 19107




                                                                          D 1- l
                                                                               I
          Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 16 of 34
     I
I




    THOMAS F. SACCI-IETTA, ESQUIRE           This is no! an ar'bilr§1QJg n        t',=    wa§é41Iby the
    Attorney I.D. No, 46834                  is demcmded. A11 cvsmim        O 91
                                                                              ..
                                                                                              Eécords
    SACCHETTA & BALDINO                      hearing is not requiF'ed?8   pa                     pm
                                                                             ¢>
    308 East Second Street
    Media, PA 19063
    (610) 891-9212                           Attorney for plaintiff

    VIOLA GILES                              COURT OF COMMON PLEAS-
    1635 N. Marshall Street, Apt. B          PHILADELPHIA COUNTY, PA
    Philadelphia, PA 19122
                                 Plaintiff

           v.                                NO.

    PHILADELPHIA HOUSING AUTHORITY:
    2013 Ridge Avenue,              :
    Philadelphia, PA 39121          :
           and                      :
    PHILADELPHIA HOUSING AUTHORITY :
    POLICE DEPARTMENT               :
    2013 Ridge Avenue,              :
    Philadelphia, PA 19121          :
           and                      :
    PHILADELPHIA HOUSING AUTHORITY :
    DEVELOPMENT CORPORATION         :
    2013 Ridge Avenue,              :
    Philadelphia, PA 1912]          :
           and                      :
    PHILADELPHIA HOUSING AUTHORITY :
    HOMEOWNERSHIP CORPORATION       :
    2013 Ridge Avenue,              :
    Philadelphia, PA 19121          :
           and                      :
    PHILADELPHIA HOUSING AUTHORITY :
    BOARD OF COMMISSIONERS          :
    2013 Ridge Avenue,              :
    Philadelphia, PA 1912!          :
           and                      :
    JOHN DOE AS THE ADMINISTRATOR/ :
    EXECUTOR OF THE ESTATE OF       :
                                                                                                               1

    ANTHONY KAMEDULA                :
    (FICTITIOUS NAME)               :
           and                      :
    JANE DOE AS THE ADMINISTRATRIX/ :
    EXECUTRIX OF TI-IE ESTATE OF    :                                                                         ;=




                                                                                         Case ID: 210502655
           Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 17 of 34
C




    ANTHONY KAMEDULA
    (FICTITIOUS NAME)
          and
    JOHN DOE (FICTITIOUS NAME)
                          Defendants


                                           NOTICE T_O DEFEND

                        NOTICE                                            AVIS()
        You have been sued in court. If you wish to           Le an demandado a used en la core. Si
    defend against the claims set forth in the               used quiere defenderse de esters demanders
     following pages, you must take action within          expuestas on las paginas siguientes, used tiene
    twenty (20) days after this complaint and notice       veinte (20) dias de plaza al partir de la fecha de
    are served, by entering a written app€3l'Hl1c€        la demands y la notificacion. Hace Yalta asenlar
    personally or by attorney and filing in writing       Una compareetlcia escrita o en persons o con un
    with the court your defenses or objections to the    abogado y entregar a la carte en forma escrita Sus
    claims set forth against you. You are warned that       defenses o Sus objeciones a las demanders en
    if you fail to do so the case may proceed without    contra de so persons. Sea avisado que si musted no
    you and a judgment may be entered against you           se defiende, la carte tomara adidas y puede
    by the court without further notice for any money     continual la demands en contra soya sin preview
    claimed in the complaint or for any other claim         aviso o nolificacion. Ademas, la core puede
    or relief requested by the plaintiff. You may lose     decidir a favor del demandante y requiere we
    money or properly or other rights important to         used cmnpla con todays las provisiones de esta
    you.                                                     demands. Usted puede perder dinero O Sus
                                                           propiedades u otros derechos importances para
      YOU SHOULD TAKE THIS PAPER TO                                     used.
    YOUR LAWYER AT ONCE. IF YOU DO                             LLEVE ESTA DEMANDA A UN
    NOT HAVE A LAWYER, OR CANNOT                          ABOGADO IMMEDIATAMENTE. $1 NO
    AFFORD ONE, GO TO OR TELEPHONE                         TIENE ABOGADO 0 SI NO TIENE EL
    THE OFFICE SET FORTH BELOW TO                         DINERO SUFICIENTE DE PACAR TAL
    FIND OUT WHERE YOU CAN CET LEGAL                     SERVICIO, VAYA EN PERSONA 0 LLAME
    HELP.                                                 POR TELEFONO A LA OFICINA CUYA
                                                          DIRECCION SE ENCUENTRA ESCRITA
         Philadelphia County Bar Association              ABAJO PARA AVERIGUAR DONDE SE
       Lawyers Referral and Information Service             PUEDE CONSECUIR ASISTENCIA
                   I Reading Center                                    LEGAL.
                Philadelphia, PA 19)07                      Asociacion De Licenciados De Filadelfia
                     [215] 238-1701                        Service De Reference E Informacioii Lena
                                                                      One Reading Center
                                                                 Filadelfia,Pennsylvania 19] 07
                                                                     Telef.: [2153 238-1701




                                                                                                  Case ID: 210502855
                                                                                                                       ¢
      Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 18 of 34
 P




THOMAS F. SACCHETTA, ESQUIRE              This is not (H7 cf/'bit/'alio/7 matter. Jury t1'z'czZ
Attorney LD. No. 46834                   is demanded. A11 assessment of damczges
SACCHETTA & BALDINO                      hearing is nor required.
308 East Second Street
Media, PA 19063
(610) 891»9212                           Attorney for plaintiff

VIOLA GILES                              COURT OF COMMON PLEAS
1635 N, Marshall Street, Apt. B          PHILADELPHIA COUNTY, PA
Plliladelphia, PA 19122
                             Flaintiff

       v.                                NO.

PHILADELPHIA HOUSING AUTHORITY:
2013 Ridge Avenue,              :
Philadelphia, PA 19121          :
       and                      :
PHILADELPHIA HOUSING AUTHORITY :
POLICE DEPARTMENT               :
2013 Ridge Avenue,              :
Philadelphia, PA 19121          :
       and                      :
PHILADELPHIA HOUSING AUTHORITY :
DEVELOPMENT CORPORATION         1
2013 Ridge Avenue,              :
Philadelphia, PA 19121          :
       and                      :
PHILADELPHIA HOUSING AUTHORITY 1
HOMEOWNERSHIP CORPORATION       :
2013 Ridge Avenue,              :
Philadelphia, PA 19121          :
       and                      :
PHILADELPHIA HOUSING AUTHORITY :
BOARD OF COMMISSIONERS          :
2013 Ridge Avenue,              :
Philadelphia, PA 19121          :
       and                      :
JOHN DOE AS THE ADMINISTRATOR/ :
EXECUTOR OF THE ESTATE OF       :
ANTHONY KAMEDULA                :
(FICTITIOUS NAME)               :
       and                      :
JANE DOE AS THE ADMINISTRATRIX/ :
EXECUTRIX OF THE ESTATE OF      :
ANTHONY KAMEDULA                1
(FICTITIOUS NAME)               :

                                                                                     Case ID: 210502655
      Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 19 of 34




      and
JO1-IN DOE (FICTITIOUS NAME)
                        Defendants

                                  PLAINTIFF'S COMPLAINT

        AND NOW, comes the plaintiff by and through her attorney, Thomas F, Sacchetta,

Esquire, and avers as follows:

       1.      Plaintiff, Viola Giles, is an adult individual whose address is 1635N. Marshall

Street, Apt. B, Philadelphia, PA 19122.

       2.      Defendant, Philadelphia Housing Authority, is, upon information and belief, a

municipality, corporation, partne1°ship, sole proprietol°ship, unincorporated association or other

legal entity existing under the laws of the Commonwealth of Pennsylvania that owns, operates,

controls, manages, and/or promulgates policies governing the Philadelphia area and housing,

with an address at 2103 Ridge Avenue, Philadelphia, PA 19121.

       3.      Defendant, Philadelphia Housing Authority Police Department, is, upon

information and belief, a municipality, corporation, partnership, sole proprietorship,

unincorporated association or other legal entity existing under the laws of the Commonwealth of

Pennsylvania that owns, operates, controls, manages, and/or promulgates policies governing the

Philadelphia area and housing, with an address at 2103 Ridge Avenue, Philadelphia, PA 1912 I .

       4.      Defendant, Philadelphia Housing Authority Development Coxporation, is, upon

information and belief, a municipality, corporation, partnership, sole proprietorship,

unincorporated association or other legal entity existing under the laws of the Commonwealth of

Pennsylvania that owns, operates, controls, manages, and/or promulgates policies governing the
                                                                                                                ;



                                                                                                                L


Philadelphia area and housing, with an address al 2103 Ridge Avenue, Philadelphia, PA 19121

       5.      Defendant, Philadelphia Housing Authority Homeownership Corporation, is, upon



                                                                                           Case ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 20 of 34




information and belief, a municipality, corporation, partnership, sole proprietorship,

unincorporated association or other legal entity existing under the laws of the Colmnonwcalth of

Pennsylvania that owns, operates, controls, manages, and/or promulgates policies governing the

Philadelphia area and housing, with an address at 2 103 Ridge Avenue, Philadelphia, PA 1912] .

        6.     Defendant, Philadelphia Housing Authority Board of Commissioncrs, is, upon

information and belief, a municipality, corporation, partnership, sole proprietorship,

unincorporated association or other legal entity existing under the laws of the Commonwealth of

Pennsylvania that owns, operates, controls, manages, and/or promulgates policies governing the

Philadelphia area and housing, with an address at 2103 Ridge Avenue, Philadelphia, PA 19121.

        7.     Defendant, John Doe as the administrator /'executor of the estate of Anthony         I



Kamedula being fictitious designation for the administrator/executory of the estate of Anthony

Kamedula who is deceased, is being sued as a claim against Anthony Kamedula was not brought

against him during his lifetime and therefore the claim is properly being brought against his

estate naming his administrator/executor whose identity is/are presently unknown to plaintiff
                                                                                                               ;I
after plaintiff has conducted a reasonable search with due diligence. A reasonable search to

determine the actual name has been conducted.

                                                                                                               ,

       8.      Defendant, Jane Doe as the administratrix / executrix of the estate of Anthony                  1




                                                                                                               S


Kamcdula being fictitious designation for the administrator/executory of the estate ofAntholly                 g




Kamedula who is deceased, is being sued as a claim against Anthony Kamedula was not brought

against him during his lifetime and therefore the claim is properly being brought against his

estate naming his administratrix/executrix whose identity is presently unknown to plaintiff after

plaintiff has conducted a reasonable search with due diligence. A reasonable search to determine

the actual name has been conducted.




                                                                                          Case ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 21 of 34
I




       9.      Defendant, John Doc, is a fictitious entity who was responsible for the actions of

Anthony Kamcdula as further detailed in this complaint whose identity is presently unknown to

plaintiff after plaintiff has conducted a reasonable search with due diligence. A reasonable search

to determine the actual name has been conducted.

        10.    At all times relevant hereto, Anthony Kamedula, was an employee of and working

under color outlaw for defendants, Philadelphia Housing Authority, Philadelphia Housing

Authority Police Department, Philadelphia Housing Authority Development Corporation,

Philadelphia Housing Authority Homeownership Corporation, Pldladelphia Housing Authority

Board of Commissioners, and/or John Doe and was their agent, servant, workman or employee.

Previously named defendants were responsible for his actions.

       11      This action is brought pursuant to 42 U.S.C. § 1983, the Fourth and Fourteenth

Amendments to the Constitution of the United States of America, and the laws of

Commonwealth of Pennsylvania.

       12.     On or about May 28, 2019, Anthony Kamedula, in his capacity as an officer for

Philadelphia Housing Authority, Philadelphia Housing Authority Police Department,

Philadelphia Housing Authority Development Corporation, Philadelphia Housing Authority

Homeownership Corporation, Philadelphia Housing Authority Board of Commissioners, and/or

John Doe came to a scene where plaintiff was present.
                                                                                                                1




       13.     At the location, defendant sexually assaulted and raped plaintiff

       14,     Anthony Kamodula used his authority as an officer to direct plaintiff into a

residence, where he scxualiy assaulted her on multiple occasions and sort plaintiff crude and

inappropriate photograph and other messages.

       15.     As a direct and proximate result of the actions of dcfcndants, plaintiff suffered the




                                                                                           Case ID: 210502655
        Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 22 of 34
I




following injuries and damages, including but not limited lo, violation other constitutional rights

under the Constitution, severe physical pain and suffering, humiliation, mental anguish, fear, and

physical injuries requiring medical treatment.

                                    COUNT l - 42 U.S.C.§ 1983

      Plaintiff v. Philadelphia Housing Authority, Philadelphia Housing Authority Police
     Department, Philadelphia Housing Authority Development Corporation, Philadelphia
    Housing Authority Homeownership Corporation, Philadelphia Housing Authority Board
                                of Commissioners, and John Doe

         16.    Plaintiff incorporates by reference all preceding paragraphs as though fully stated

herein at length.

         17.    This cause of action is brought by plaintiff against defendants for deprivation by

its agents, servants, or employees of constitutional rights within the meaning of 42 U.S.C. §

1983.

         18.    Anthony Karnedula while acting under color of law, as an authorized agent of

defendants, while engaging plaintiff at a scene where PHA police were called, in turthcrance of

his duties, caused a constitutional deprivation of plaintiff, resulting in her injury.

         19.    Defendants violated plaintiffs Fourteenth Amendment rights by failing to

properly train and supervise Anthony Kamedula and by failing to school him with regard to

appropriate interaction with public without causing deprivation of constitutional rights.

         20.   The aforementioned actions were not isolated incidents and defendants have a

history of officers sexually assaulting and inappropll atcly touching individuals.
                                                                                                                 4



         21,   Prior to the aforementioned date, defendants pe1°mitted and tolerated the continued

constitutional violations against individuals by officers who were not trained or supervised. This

continued lack of training, supervision and oversight caused the injuries to plaintiff.




                                                                                            C358 ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 23 of 34




        22.     The above actions of Anthony Kamedula and the policies of dcfendants violated

plaintiffs constitutional rights.

        23.     As a direct and proximate result of the above mentioned unconstitutional acts of

Anthony Kamcduia, while he was an agent, servant or employee of dcfcndants, plaintiff

sustained severe injuries.

        WHEREFORE, Plaintiff demands punitive, compensatory and special damages against

Defendants, jointly and severally with attorney's fees, costs and pro-judgment interest. Plaintiff

also demands declaratory relief in the nature of a Declaratory Judgment that policies, procedures

and acts complained of are illegal and unconstitutional.

                                    COUNT II - 42 U.S.C. § 1983

 Plaintiff v. Defendants, John Doe as the Administrator / Executor of the Estate of Antony
  Kamedula and/or Jane Doe as the Administratrix /Executrix of the Estate of Anthony
                                        Kamedula

       24,     Plaintiff incorporates by 1'c>flc1°encc all preceding paragraphs as though fully stated

herein at length.

       25.     This cause of action is brought by plaintiff against herein named defendants for

Anthony Kamedula's willful, wanton, and malicious actions under the color of law which

deprived plaintiff of her constitutional rights under the Fourth and Fourteenth Amendments.
                                                                                                                  ,
       26.     Anthony Kamedula violated 42 U.S.C. § 1983 by grabbing the body of plaintiff,
                                                                                                                  1
                                                                                                                  9
                                                                                                                  %
sexually assaulting her, groping or, forcing her to perform sexual acts on him and other

inappropriate conduct.

       27.     As a direct and proximate cause of the unconstitutional acts of Anthony

Kamedula, plaintiff sustained severe injury.

       28.     Anthony Kamedula, while acting in his capacity as an officer for previously


                                                                                                                  i
                                                                                             Case ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 24 of 34
 P




named defendants, and under color flaw, willfully, maliciously, and intentionally performed the

actions mentioned above.

        29.     The intentional, willful, and wanton acts of Anthony Kamcdula establish a claim

for punitive damages against defendants.

        WHEREFORE, Plaintiff demands punitive, compensatory and special damages against

Defendants, jointly and severally with atto1°ney's fees, costs and pre-judgment interest. Plaintiff

also demands declaratory relief in the nature of a Declaratory Judgment that policies, procedures

and acts complained of are illegal and unconstitutional.

                                            COUNT III

   Plaintiff v. Philadelphia Housing Authority, Philadelphia Housing Authority Police
  Department, Philadelphia Housing Authority Development Corporation, Philadelphia
 Housing Authority llomeownership Corporation, Philadelphia Housing Authority Board
                             of Commissioners, and John Doe

        30.     Plaintiff incorporates by reference all preceding paragraphs as though fully stated

herein at length.

        31.     Defendants through their employees intentionally caused harm to plaintiff.

        32.     The actions of Anthony Kamedula did arouse fear in plaintiff. The

aforementioned sexual assault and assault and battery was accomplished without the consent and

against the will of plaintiff.

        33.     Defendants are vicariously liable fox' the tortious acts of its employees that were

committed within the scope of their employment.                                                        i




        34.     As a direct and proximate result of the acts of defendants, through their employee,

Anthony Kamedula, plaintiff sustained severe injury.

                                                                                                       8
        35.     As some or all of plaintiff"s injuries may be permanent in nature, plaintifflmereby

claims future pain, suffering, and medical expenses.

        WI-IEREFORE, Plaintiff dcmands punitive, compensatory and special damages a instID 210502655
                                                                                    ase   :
           Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 25 of 34
     u
r




    Defendants, jointly and severally with attorney's fees, costs and pro-judgment interest, Plaintiff

    also demands declaratory reficf in the nature of a Dcclaratoryludgment that policies, procedures

    and acts complained of arc illegal and unconstitutional. in an amount in excess of Fifty Thousand

    ($50,000.00) Dollars, including punitive damages, and in an amount in excess of that requiring

    compulsory arbitration .

                  COUNT IV - DEPRIVATION OF SUBSTANTIVE DUE PROCESS

                                         Plaintiff v. Al! Defendants

            36.     Plaintiff Viola Giles hereby incorporates by reference the preceding paragraphs.

            37.    Plaintiff Viola Giles had a fundamental and well-established right to be secure in

    her person, a right not to be physically assaulted or emotionally brutalized and/or a right to be

    protected from sexual assault and violence at the hands of the officer,

            38.     Defendants' acts and omissions constituted deiibcrate indifference and callous

    disregard for Plaintiff's substantive due process rights to bodily integrity and to be free from

    sexual assault, oppression and violence at the hands of the officer who used, misused, and abused

    their authority, status and position, which is secrued and protected by the Fourteenth Amendment

    to the Constitution of the United States, by, and among other things:

                    (8)     the unlawful sexual assault and violence perpetrated and committed

    against Plaintiff at the hands of the Defendant Deceased Anthony Kamedula who used, misused,

    and abused his official position, status and authority as an officer to perp<:t1'ate his crimes against

    Plaintiff.

                   (b)      the intentional and reckless disregard for citizen complaints regarding

    Anthony Kamedula's abuse of authority as an officer.

                   (C)      the development and implementation of reckless policies, practices and/or

    procedures governing the conduct of officers that inadequately protected innocent citizens, such

                                                                                                  C35€ ID: 210502655
             Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 26 of 34
     |
I




    as Plaintiff Viola Giles from sexual assaults and violence pclpetrated by rogue and out-of-control

    officers.

                    (d)     the intentional and reckless failure of Defendants to preclude, prevent,

    restrain and/or stop Defendant Kamedula from using, misusing and abusing his official authority,

    status and position as an officer to effectuate sexual assault of citizens, such as Plaintiff.

                   (8)     possessing actual and/or constructive knowledge of and acquiescing co

    Defendant Kamedula's violations for Plaintiffs constitutional and civil rights as described

    heroin.

                   (t)     the intentional and reckless failure to prevent recurrence of the harm to

    Plaintiff at the hands of Defendant Kamedula.

                   (8)     the intentional and reckless failure to properly screen Defendant

    Kameduia's background and/or vel'ifly and re-verify his credentials and fitness to servo as an

    officer.

                   (h)     the development and implementation of reckless poiicics, practices and/or

    procedures governing the off-duty and/or non-police activities of officers.

                   (i)     the intentional and reckless failure to properly control, monitor and/or

    supervise Defendant Kanledula's off-duty and/or non-police activities, including his activities

    and conduct.

                   G)      the development and implementation of reckless policies, practices and/or

    procedures governing the screening, hiring, discipline and retention ofofficors who are unfit to

    serve.


                   (k)     the development and implementation ofrecklcss policies, practices and/or

    procedures governing the assignment of unfit police personnel to duties that would result in the

    likelihood of injury or harm to innocent citizens and others through contact with such police

                                                                                                     Case ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 27 of 34




personnel.

                (I)      the intentional and reckless failure of Defendants to properly train,

supervise, monitor and/or control the actions and activities ofpolicc officers .

                (m)      the development and implementation of reckless policies, practices and/or

procedures governing the training, supervision, monitoring and/or control ofpolicc officers.

                (H)      the intentional and reckless failure of Defendants to properly discipline,

reprimand or discharge police officers engaged in crimes, misconduct and/or other actions

unbecoming an officer.

                (o)     the development and implementation of reckless policies, practices and/or

procedures governing the discipline, reprimand and/or discharge of officers engaged in crimes,

misconduct and/or other actions unbecoming an officer,

                (p)     the intentional and reckless failure to properly oversee, supervise, monitor,

control, curtail, or restrain the actions of unfit officers, such as Dcfcndant Kamedula, when

Defendants knew or should have known from prior acts of misconduct by Defendant Kamedu¥a

posed a serious threat of physical injury and/or harm to innocent citizens.

        39,     Defendants' conduct was egregious and shocked the conscience.

        40.     The actions and/or inactions of Defendants violated the clearly established and

well settled federal constitutional rights of Plaintiff.

        41.     As a direct result of Defendants' constitutional violative policies, procedures,

customs, actions and/or omissions Plaintiff has suffered injuries which include but are not
                                                                                                                 »




limited to, the following: exposure to sexual assault, severe emotional disturbance, shame,

embarrassment, the inability to socially adjust to her peers, the inability to be outgoing, anxiety,

fear, as well as other permanent psychological disorders that will continue to have an adverse

impact on hot for the foreseeable future, emotional pain and suffering, loss of sleep, damage to

                                                                                            Case ID: 210502655
           Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 28 of 34
I




    nerves and nervous system, and other ailments that Plaintiff"s treating physicians have and will

    diagnose.

            42.     As a direct result of Defendants' constitutional violative policies, pi'ocedu1'es,

    customs, actions and/or omissions Plaintiff has been or will be required to receive and undergo

    medical attention and care and to expend various sums ofmoncy and incur various expenses and

    may be required to continue to expend such sums or incur such expenditures for an indefinite

    time in the future.

            43,     As a direct result of Defendants' constitutional violative policies, procedures,

    customs, actions and/or omissions Plaintiff has suffered a significant loss of earnings and

    impairment of her earning power and capacity.

            44.    As a direct result of Defendants' constitutional violative policies, procedures,

    customs, actions and/or omissions Plaintiff has suffered substantial physical pain, mental anguish

    and humiliation, and may continue to suffer same for an indefinite time into the future.

            WHEREFORE, Plaintiff demands punitive, compensatory and special damages against

    Defendants, jointly and severally with attorney's fees, costs and pre-judgment interest. Plaintiff

    also demands declaratory relief in the nature of a Declaratory Judgment that policies, procedures

    and acts complained of are illegal and unconstitutional.

    COUNT V - FAILURE TO PROPERLY SCREEN, HIRE, SUPERVISE, INVESTICATE,                                          l


          EDUCATE, TRAIN, DISCIPLINE, DISCHARGE AND/OR CONTROL

                                        Plaintiff v, All Defendants

           45.     Plaintiff Viola Giles hereby incorporates by reference the preceding paragraphs.

           46,     Plaintiff had a fundamental and well-established right to be secure in person, a

    right not to be physically assaulted or emotionally brutalized, and/or a right to be protected from

    sexual assault and violence at the hands of an officer.

           47.     The Defendants' acts and omissions constituted deliberate indifference and
                                                                                            Case ID: 210502655
           Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 29 of 34
     I
»




    callous disregard for PIaintiff"s substantive due process rights to bodily integrity and to be free

    from sexual assault, oppression and violence at the hands of police officers who use, misuse, and

    abuse their authority, status and position which is secured and protected by the Fourteenth

    Amendment to the Constitution of the United States.

               48.   Defendants knew or should have know that Kamedula was abusing his authority

    as an officer to sexually exploit Plaintiff.

               49.   The violation of Plaintiff"s substantive due process rights as described above and

    herein were also caused by the Detlcndant's refusal and/or failure to properly screen, hire,

    supervise, investigate, educate, train, discipline, discharge and/or control Defendant Kamedula,

    or otherwise to properly verify and re-verify his credentials, ability and fitness to serve as a

    officer.

               50,   Defendants' conduct was egregious and shocked the conscience,

               51    The actions and/or inactions of Defendants violated the clearly established and

    well settled federal constitutional rights of the Plaintiff, Viola Giles.

               52.   As a direct result of Defendants' constitutional violative policies, procedures,

    customs, actions and/or omissions Plaintiff has suffered injuries which include but are not                       :
                                                                                                                      i
                                                                                                                      i
                                                                                                                      i




    limited to, the following: exposure to sexual assault, severe emotional disturbance, shame,
                                                                                                                      I
    embarrassment, the inability to socially adjust to or peers, the inability to be outgoing, anxiety,

    fear, as well as other permanent psychological disorders that will continue to have an adverse

    impact on her for the foreseeable future, emotional pain and suffering, loss of sleep, damage to

    nerves and nervous system, and other ailments that PlaintifF's treating physicians have and will

    diagnose.

               53.   As a direct rcsuit of Dctlcndams' constitutional violative policies, procedures,

    customs, actions and/or omissions Plaintiff has boon or will be required to receive and undergo

                                                                                                 Case ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 30 of 34




medical attention and care and to expend various sums of money and incur various expenses and

may be required to continue to expend such sums or incur such expenditures for an indefinite

time in the future.

        54.     As a direct result of Defendants' constitutional violative policies, procedures,

customs, actions and/01' omissions Plaintiff has suffered a significant loss of earnings and

impairment of her earning power and capacity.

        55.    As a direct result of Defendants' constitutional violative policies, procedures,

customs, actions and/or omissions Plaintiff has suffered substantial physical pain, mental anguish

and humiliation, and may continue to suffer same for an indefinite time into the future.

        WHEREFORE, Plaintiff dcmands punitive, compensatory and special damages against

Defendants, jointly and severally with attorney's fees, costs and pro-judgment interest. Plaintiff

also demands declaratory rcliefin the nature of a Declaratory Judgment that policies, procedures

and acts complained of arc illegal and unconstitutional.

        COUNT VI - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

 Plaintiffv. Defendants, John Doe as the Administrator / Executor of the Estate of Antony
  Kamedula and/or Jane Doe as the Administratrix /Executrix of the Estate of Anthony
                                            Kamedula

       56.     Plaintiff Viola Giles hereby incorporates by reference the preceding paragraphs.

       57.     As set forth herein, Defendant Kamedula intended his criminal actions to cause

harm to Plaintiff

       58,     The harm suffered by Plaintiff was a direct, foreseeable and proximate result of

the criminal acts, as described more fully above and herein.

       59.     As a direct and proximate result of the intentional infliction of emotional distress

inflicted by Defendant Karncduia, Plaintiff has suffered injjires which include, but are not limited

to, the following: exposure to sexual assault, severe emotional disturbance, shame,

                                                                                           Case ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 31 of 34
v




embarrassment, the inability to socially adjust to her peers, the inability to bo outgoing, anxiety,

fear, as well as other permanent psychological disorders that will continue to have an adverse

impact on her for the foreseeable future; emotional pain and suffering, loss of sleep, damage to

nerves and nervous system, and other aiknments that Plaintiffs treating physicians have and will

diagnose,

        60.     As a direct result of Defendants' constitutional violative policies, procedures,

customs, actions and/or omissions Flaintiffhas been or will be required to receive and undergo

medical attention and care and to expend various sums of money and incur various expenses and

may be required to continue to expend such sums or incur such expenditures for an indefinite

time in the future,

       61      As a direct result of Defendants' constitutional violative policies, procedures,

customs, actions and/or omissions Plaintiff has suffered a significant loss of earnings and

impairment of her earning power and capacity,

       62.     As a direct result of Defendants' constitutional violative policies, procedures,

customs, actions and/or omissions Plaintiff has suffered substantial physical pain, mental anguish

and humiliation, and may continue to suffer same for an indefinite time into the future.

       WHEREFORE, Plaintiff demands punitive, compensatory and special damages against

Defendants, jointly and severally with attorneys foes, costs and pre-judgment interest. Plaintiff

also demands declaratory relief in the nature of a Declaratory Judgment that policies, procedures

and acts complained of are illegal and unconstitutional.

                          COUNT VII - ASSAULT AND BATTERY

 Plaintiff v. Defendants, John Doe as the Adlninistratorf Executor of the Estate of Antony
  Kamedula and/or Jane Doe as the Administratrix l Executrix of the Estate of Anthony
                                        Kamedula

       63.     Plaintiff Viola Giles hereby incorporates by rcforcncc the preceding paragraphs.

                                                                                            C88€ ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 32 of 34
 r




        64.     Plaintiff was sexually assaulted by Defendant Kamcdula, as described more fully

above and herein.

        65.     At all times relevant times, Defendant Kamedula used, misused, and abused his

authority, status and position of power as an officer, and preyed upon Plaintiff, who was

vuliicrable, in order to commit sex crimes against her.

        66.     As set forth herein, the sexual assault by Defendant Kamcdula was done

wantonly, recklessly and with malicious and premeditated criminal intent and with an absolute

disregard for the health, safety and welfare of Plaintiff,

        67.    In committing the crimes described herein, Defendant Kamedula committed an

offensive, abusive, harmful, illegal, unlawful, immoral and criminal touching of the Plaintiff.

        68.     The harm suffered by Plaintiff was a direct, foreseeable and proximate result of

the criminal acts, as described more fully above and herein.

        69.     As a direct and proximate result of the intentional infliction of emotional distress

inflicted by Defendant Kamedula, Plaintiff has suffered injjires which include, but are not limited

to, the Following: exposure to sexual assault, severe emotional disturbance, shame,

embarrassment, the inability to socially adjust to her peers, the inability to be outgoing, anxiety,

fear, as well as other permanent psychological disorders that will continue to have an adverse

impact on hl' for the foreseeable future, emotional pain and suffering, loss of sleep, damage to

nerves and nervous system; and other ailments that Plaintiffs treating physicians have and will

diagnose.

       70.     As a direct result of Defendants' constitutional violative policies, procedures,

customs, actions and/or omissions Plaintiff has been or will be required to receive and undergo

medical attention and care and to expend various sums of money and incur various expenses and

may bo required to continue to expend such sums or incur such expenditures for an indefinite

                                                                                            Case ID: 210502655
               Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 33 of 34
    c
4




        time in the future.

               71.     As a direct result of Defendants' constitutional violative policies, procedures,

        customs, actions and/or omissions Plaintiff has suffered a significant loss of earnings and

        impairment of her earning power and capacity.

               72.     As a direct result of Defendants' constitutional violative policies, procedures,

        customs, actions and/or omissions Plaintiff has suffered substantial physical pain, mental anguish

        and humiliation, and may continue to suffer same for an indefinite time into the fuMe.

               WHEREFORE, Plaintiff demands punitive, compensatory and special damages against

        Defendants, jointly and severally with attorney's fees, costs and pre-judgment interest. Plaintiff

        also demands declaratory relief in the nature of a Declaratory Judgment that policies, procedures

        and acts complained of are illegal and unconstitutional.

                                                      SACCHETTA & BALDINO


                                              By:    Is/Thomas F. Sacchetta
                                                     THOMAS F, SACCHETTA, ESQUIRE
                                                      Attorney for plaintiff




                                                                                                  Case ID: 210502655
       Case 2:21-cv-02833-JDW Document 1 Filed 06/25/21 Page 34 of 34




                                       VERIFICATION

        The undersigned verifies that the statements made in the foregoing document arc true and

correct to the best of my knowledge, information and belief. The undersigned understands that

false statements heroin are made subject to the penalties of 18 Pa.C.S. §4904, relating to unsworn

falsification to authorities.




                                                    Is/Thomas F. Sacchetta

                                                    THOMAS F. SACCHETTA




                                                                                        Case ID: 210502655
